Case 2:19-cv-18130-KM-JBC Document 25 Filed 10/11/19 Page 1 of 3 PageID: 617




                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

ALEXANDER SALERNO. M.D., on behalf of
himself’ and all other healthcare providers similarly
situated, THE MEDICAL SOCIETY OF NEW
JERSEY. on behalf of itself and all persons
similarly situated, SALERNO MEDICAL
ASSOCIATES. LLP. SENIOR HEALTHCARE
OUTREACH PROGRAM, INC.. SVETLANA                        )    Civ. No.2: 19-cv-I 8130-KM-JBC
SALERNO, M.D., AMANDA MARINO, M.D.,
DIANA LARREA, D.O., ANDREA FODOR,
NP., GUETTY GABAUD, N.P., BELA
LASCHIVER, N.P, AIDA RAMOS, F.N.P.,
MARYELLEN ROBERTS, N.P., RAKESH K.
SAHNI, M.D., ELIZABETH D. EVANS, DO.,
KUANG-YIAO HSIEH. M.D., JOHN H.
RUNDBACK, M.D., KEVIN HERMAN, M.D.,
ROEL P. GALOPE, DO. VICTORIA A.
HOWELL, N.P., MARIELA PABON, R.D.,
NILAY R. SHAH, M.D., SM MEDICAL LLC.
RAMEZ W. SA.MUEL. M.D., MOUNIR
ABDELSHAHID. M.D.. CATALINA
DELACRUZ. M.D.. PEDIATRICS AND
ADOLESCENT SAINT MARY CLINIC. LLC.
and INAS WASSEF. M.D.
                                                        )
         Plaintiffs.

v.                                                      )
                                                        )
UNITEDHEALTH GROUP, [NC.,
UNITEDHEALTHCARE INSURANCE
COMPANY, UNITED HEALTHCARE                              )
COMMUNITY PLAN, INC., AMERICHOICE
CORP., AMERICHOICE OF NEW JERSEY,
INC., RIVERSIDE MEDICAL MANAGEMENT,
LLC, OPTUM, INC., OPTUM CARE, INC., and
JOHN DOES 1-20,

         Defendants.

                                              ORDER

         On September 19,2019. Plaintiffs filed a complaint and applied for a temporary injunction.

 ECF No. I. The next day, the Court issued an Order to Show Cause why Defendants “should not



4S52-8663-3 129
Case 2:19-cv-18130-KM-JBC Document 25 Filed 10/11/19 Page 2 of 3 PageID: 618

                                                                        :tcf(s hsiec
                                                                    dj% &-çi
be preliminarily enjoined and restrained from: (A) terminating Providersjparticipation in the plan

[of Defendant Unitedhealthcare Community Plan, Inc. (the “Plan”)]; (B) notifying patients that

Providers are or will be terminated and/or that they are not, or will not be, participating as Providers

under the Plan; (C) removing Providers’ infonnation from any of Delbndants’ marketing materials

and from notifying patients that they are not accepting new patients under the Plan; and (D) treating

Providers differently from other providers with regard to UI-IC’s directories for the Plan.” ECF

No. 3. Defendants opposed Plaintiffs’ application on October I (ECF No. 4 ed6n October 2,

2019 Plaintiffs filed an Amended Verified Complaint adding PlaintiY the Medical So ‘icR of\cw
                                                                                                     rttR&3.
Jersey (“MSNJ”) as an additional plaintiff. ECF No. l6.jhe Court having heard oral argument

on October 4. 2019 and for the reasons placed on the record and for othcr good cause having been Onjt%1h7

shown, the Court orders that:

    1. Plaintiffs’ claims in this case are referred to arbitration with the American Arbitration

         Association (AAA) for an initial determination of arbitrability;

    2. Defendants are enjoined and restrained from taking any actioi to not renew any Providcrs
       4e_&s’ft.q ?whf6              t’Ptott’1A                          ni                   4, wq
       unnril,gfl,1                 day: from QetoheQl9 to enable Plaintiffs the opportunity
       *OkcA
         obtain a ruling concerninsz arbitrabilitv referenced in para1raph I above:
                                                                        -




    3. For those Providers

         ic   wplI                           bgru. N.P——           rmftndt     ‘mo,ict9.    Defendants

         shall immediately remove    from   any of their online and any other directories or other

         listings any notation that Providers are not accepting new patients or that their network

         participation is ending and/or not being renewed; and




                                                   7

4852-8663-3129,   v.   1
Case 2:19-cv-18130-KM-JBC Document 25 Filed 10/11/19 Page 3 of 3 PageID: 619




      4. The clerk shall STAY and ADMINISTRATIVELY TERMINATE this action
WITHOUT PREJUDICE to reopening if and when any claims therein are found
not to be arbitrable.
      5. Any parties not covered by this Order may opt to file or join in a claim
in arbitration as quickly as they wish; their rights are not affected or their
remedies delayed by this Order.




                                             K   INMCNULTV’
                                             United States District Judge
